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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                         Case Nos.:        3:13cr34/RV/EMT
                                                                              3:14cv15/RV/EMT
JAMES E. ATIABI


                               REPORT AND RECOMMENDATION

        This matter is before the court upon Defendant’s motion to voluntarily dismiss his pending
motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255 (doc. 323). Defendant
notes that the motion was filed prematurely, during the pendency of his direct appeal, and also that
after consultation with a legal aid he realizes that the motion is legally defective. He thus seeks leave
to voluntarily dismiss the motion without prejudice to his pursuit of a § 2255 motion, if appropriate,
at a later date. Good cause having been shown, Defendant’s request should be granted.1
        Based on the foregoing, it is respectfully RECOMMENDED:
        1.       That the motion to voluntarily dismiss Defendant’s pending motion to vacate, set aside,
or correct sentence (doc. 323) be GRANTED.
        2.       That Defendant’s motion to vacate, set aside or correct sentence (doc. 316) be
DISMISSED without prejudice.
        At Pensacola, Florida, this 12th day of March 2014.



                                                    /s/ Elizabeth M. Timothy
                                                    ELIZABETH M. TIMOTHY
                                                    UNITED STATES MAGISTRATE JUDGE




        1
         The fact that Defendant’s motion is dismissed without prejudice does not preclude a determination that a
subsequently filed § 2255 motion is untimely or otherwise subject to dismissal.
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                                          NOTICE TO THE PARTIES

        Any objections to these proposed findings and recommendations must be filed within
fourteen days after being served a copy thereof. Any different deadline that may appear on the
electronic docket is for the court’s internal use only, and does not control. A copy of objections
shall be served upon all other parties. Failure to object may limit the scope of appellate review
of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir.
1988).




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